            Case 3:15-cv-00318-SDD-RLB         Document 779     11/06/23 Page 1 of 5




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA


         JOSEPH LEWIS, JR., et al., on behalf
         of themselves and all others similarly          CIVIL ACTION NO. 3:15-cv-
         situated,                                       00318


         Plaintiffs,
                                                         JUDGE SDD
                           v.

         BURL CAIN, Warden of the Louisiana              MAGISTRATE RLB
         State Penitentiary, in his official
         capacity, et al.,

         Defendants.

                                       REMEDIAL ORDER
          For the reasons set forth in the Court’s Rulings, dated March 31, 2021,1 (“Liability

    Ruling”) and November 6, 2023,2 (“Remedial Ruling”):

    IT IS HEREBY ORDERED:
    I.     SPECIAL MASTERS
           A. The Court hereby Orders the appointment of 3 Special Masters to develop
              proposed remedial plans, make recommendations regarding implementation
              and monitor implementation of remedial plans (“Remedial Plans”) to cure and
              eliminate the violations found in the Court’s Liability Ruling and Remedial
              Ruling.

           B. The Court will appoint one physician and one nurse or nurse practitioner to
              develop, make recommendations regarding implementation, and monitor
              implementation of a medical care remedial plan and one Special Master with
              knowledge and expertise in handicap and disability access and
              accommodations      to   develop,    make     recommendations   regarding
              implementation and monitor implementation of a remedial plan to address
              and rectify the ADA and RA violations found by the Court.


1
    Rec. Doc. 594.
2
    Rec. Doc. 778.

                                                1
      Case 3:15-cv-00318-SDD-RLB         Document 779      11/06/23 Page 2 of 5



      C. The parties are hereby Ordered to meet and confer within 14 days of this
         Order to identify and discuss potential Special Masters with the qualifications
         set forth herein. Within 30 days of this Order, the parties shall submit names of
         proposed Special Masters for each position. If the parties are unable to agree
         on proposed Special Masters, each party will submit up to three proposed
         names for each position.
         D. The Court will appoint three Special Masters to prepare proposed
         Remedial Plans and monitor and report on implementation and compliance.
II.   REMEDIAL PLANS
      A. Medical Care Remedial Plan
      A proposed Remedial Plan addressing the following shall be submitted to the
      Court within 120 days after the appointment of the Special Master.
         1. Standards and Procedures for Sick Call, including but not limited to, the
            sick call request process, evaluation by a provider, and documentation
            and/or charting and follow-up.
         2. Standards and Procedures for Clinical Care, including but not limited to,
            protocols pertaining to obtaining and documenting patient history, medical
            charting, examination and diagnostic protocols, treatment protocols,
            including review and recommendations of existing “Individual Treatment
            Orders,” medication administration, documentation protocols, and
            medication charting and follow-up.
         3. Standards and Procedures for Specialty Care, including but not limited to,
            protocols pertaining to referrals, tracking, follow-up, review, and
            implementation of specialists’ orders and charting.
         4. Standards and Procedures for Infirmary and In-Patient Care, including but
            not limited to, protocols pertaining to admission, level of care
            determinations, rounding and assessments, care planning, medication
            administration and documentation, charting, and the protocols for the
            appropriate use and training of inmate orderlies.
         5. Standards and Procedures for Emergency Care, including but not limited
            to, staffing numbers and disciplines in the ATU, standards and protocols for
            transfer to outside hospitals, and protocols for the appropriate use and
            training of EMTs.
         6. Standards and Procedures for medical records management, including
            electronic medical records and protocols for providing real time or
            contemporaneous access to medical records by outside providers,
            specialists, and related disciplines.
         7. Standards and Procedures for medical management and administration,
            including but not limited to, recommendations for medical management
            policies   and   procedures,     recommendations   regarding  medical

                                           2
       Case 3:15-cv-00318-SDD-RLB        Document 779     11/06/23 Page 3 of 5



             administrative organization, staffing levels, credentialing, performance
             reviews, peer reviews, mortality reviews, quality control and quality
             improvement.
       B. ADA REMEDIAL PLAN
       A proposed Remedial Plan addressing the following shall be submitted to the Court
       within 120 days after the appointment of the Special Master.

          1. Identification of architectural barriers to be remedied as set forth in Mark
             Mazz’s expert report, a determination of the appropriate remedies, and a
             schedule for such remediation.
          2. Standards and procedures for Methods of Administration, including but not
             limited to, the appointment of a qualified, properly trained ADA Coordinator
             and a determination regarding the necessity of an ADA Advisory
             Committee as previously contemplated by Directive 1.016.

          3. Standards and procedures for receiving, tracking, and appropriately
             responding to accommodation requests.
          4. Standards and procedures pertaining to the appropriate ADA training for
             LSP staff and inmate orderlies.
          5. Standards and Procedures for the appropriate consideration of disabled
             status when imposing discipline and training related thereto.
III.   COOPERATION AND ACCESS
       A. No later than 30 days after their appointment, the Special Masters shall have
          access to Louisiana State Penitentiary (“LSP”) to conduct reviews of the
          facility, the health care and ADA operations.

       B. The Special Masters shall have access to any and all records and documents
          appropriate and necessary for their tasks and the Department of Corrections
          shall provide any records and documents requested without delay and in no
          event later than 14 days following the request. Oral requests for records and
          documents should be confirmed by electronic mail.
       C. The Department of Corrections shall designate, in writing, employees to whom
          records requests should be directed by the Special Masters.

       D. The Department of Corrections shall designate, in writing, one headquarters
          employee, one or more Wardens and one or more security employee(s) to
          coordinate and facilitate the work of the Special Masters.
       E. Special Masters’ visits to LSP shall be facilitated by the DOC on 24 hours
          written notice by the Special Master(s). The Special Masters shall be given
          reasonable access to class members.

                                           3
      Case 3:15-cv-00318-SDD-RLB         Document 779      11/06/23 Page 4 of 5



      F. The Special Masters shall be provided electronic access to the record of these
         proceedings and the Court shall designate a Clerk to assist the Special
         Masters in retrieval of documents from the record if necessary.
IV.   REPORTING
      A. Within 90 days of appointment, the Special Masters shall submit a proposed
         Medical Care Remedial Plan and a proposed ADA/RA Remedial Plan to the
         Court and the parties.

      B. The Remedial Plans should include recommended steps for implementation
         and proposed timelines for completion and compliance.
      C. Within 30 days of the Special Masters’ submission of the proposed
         Remedial Plans, either party may submit proposed amendments to the
         proposed Remedial Plans. If either party intends to submit proposed
         amendments, the parties shall meet and confer no less than 14 days after
         the Monitors’ submission in an effort to agree upon proposed amendments.
         The parties shall discuss any proposed amendments with the Special
         Masters no less than 7 days before submission of proposed amendments to
         the Court.
      D. The Court will review the proposed Remedial Plans and any requests for
         amendment and will enter Orders necessary and appropriate to effect
         remedies.
V.    MONITORING IMPLEMENTATION OF REMEDIAL PLANS AND PERIODIC
      REPORTS TO COURT
      A. Beginning six months after the Court enters Orders effectuating the
         Remedial Plans, and at recurring intervals every six months thereafter, the
         Special Masters shall submit a comprehensive report advising the Court of
         the implementation status of each component of the Plan and any non-
         compliance or concerns regarding whether completion deadlines will be met.
         The parties shall have 14 days to comment on any periodic report and the
         Court will schedule a conference to review progress and impediments to
         completion and compliance if needed.

      B. Monitoring of progress and compliance with Court’s Remedial Order(s) shall
         continue until further Order of this Court.
      C. The Special masters shall continue to have access to LSP, class members,
         and records and documents during the monitoring period under the terms
         set forth above.
VI.   FEES AND COSTS
      All costs associated with the work and reporting of the Special Masters shall be
      paid by the Defendants.
                                           4
     Case 3:15-cv-00318-SDD-RLB        Document 779     11/06/23 Page 5 of 5



     As the prevailing parties, Plaintiffs are directed to file a Motion to Award
     Attorneys’ Fees and Costs within 30 days of this Order. Oppositions, if any
     shall be filed by the Defendants within 14 days thereafter.
     Plaintiffs may file Supplemental Motions for Attorneys’ Fees and Costs during
     the implementation and monitoring period, but in any event, no more frequently
     than 90-day intervals. Oppositions, if any, to Motions for Supplemental fees
     and Costs shall be filed within 14 days of the filing of the Motion.


IT IS SO ORDERED.

Baton Rouge, Louisiana, this 6th day of November, 2023.


                                      S
                                     ________________________________
                                     SHELLY D. DICK
                                     CHIEF DISTRICT JUDGE
                                     MIDDLE DISTRICT OF LOUISIANA




                                        5
